                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA,                          )
                                                   )
                                Plaintiff,         )
          v.                                       )      No. 1:17CR460-1
                                                   )
PAULA KAY BULLOCK,                                 )
                                                   )
                                Defendant,         )
                                                   )
          and                                      )
                                                   )
CHARLES SCHWAB AND CO., INC.,                      )
and its successors or assigns,                     )
                                                   )
                                Garnishee.         )

           APPLICATION FOR WRIT OF CONTINUING GARNISHMENT
                           [28 U.S.C. § 3205(b)]

       The United States of America, makes application in accordance with 28 U.S.C.

§3205(b)(1) to the Clerk of the United States District Court to issue a Writ of Garnishment

upon the judgment entered against the Defendant, Paula Kay Bullock, social security

number ***-**-9885, whose last known address is at FCI Coleman, P.O. Box 1021,

Coleman, Florida 33521-1029. The judgment is in the amount of $32,847.63.

       As of July 18, 2019, the sum of $7,000.00 has been credited to the judgment debt,

leaving a total balance of $25,847.63, which includes restitution in the amount of $5,647.63, a

fine in the amount of $20,000.00, and a special assessment in the amount of $200.00. Interest

is not accruing on this debt.




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       More than 30 days have elapsed since demand on the debtor for payment of the debt

and the debtor has not paid the amount due.

       The Garnishee is believed to be in possession, custody or control of property in

which the debtor has a substantial nonexempt interest which is subject to garnishment by

the United States, including but not limited to:

       Any and all accounts individually owned by or held for the benefit of
       Paula Kay Bullock, Social Security Number ***-**-9885 and the pro-
       rata share of any and all accounts owned or held jointly by Paula Kay
       Bullock, and any other individual and/or entity, including but not
       limited to Individual Retirement Accounts and/or securities accounts,
       account numbers unknown, not to exceed the balance of this debt,
       $25,847.63.


       The name and address of the Garnishee or its authorized agent is: Charles Schwab and

Co., Inc., c/o Registered Agent, CT Corporation System, 160 Mine Lake Court, Suite 200,

Raleigh, NC 27615-6417.

       This the 4 December 2019.

                                                   MATTHEW G.T. MARTIN
                                                   United States Attorney


                                                   /s/ Joan B. Childs
                                                   Assistant United States Attorney
                                                   NCSB # 18100
                                                   United States Attorney’s Office
                                                   101 S. Edgeworth Street, 4th Floor
                                                   Greensboro, NC 27401
                                                   Telephone: (336) 333-5351
                                                   E-mail: joan.childs@usdoj.gov




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